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The Court is in receipt of Mr. Bacon's letter dated May 14, 2021, and
understands that the U.S. Attorney's Office has confirmed with the
Marshals Service that Mr. Bacon's federal detainer was lifted on April
17, 2020. Moreover, an individual in the Records Department at Green
Haven Correctional Facility has informed the Court that Mr. Bacon's
records reflect no pending federal detainer. To the extent prison
personnel are aware of any inconsistency in Mr. Bacon's records, they
should discuss with the Marshals Service.

The Clerk of Court is directed to mail a copy of this Order to Mr.
Bacon at his address of record.

Dated:    June 8, 2021                  SO ORDERED.
          New York, New York



                                        HON. KATHERINE POLK FAILLA
                                        UNITED STATES DISTRICT JUDGE
